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UNITED STATES DISTRICT COURT
for the
District. of New Jersey

 

 

LEE KENWORTHY as the
Administrator for the ESTATE
OF SHAYLING KENWORTHY AND LEE
KENWORTHY, Individually,

Plaintiff,
vs.

LYNDHURST POLICE DEPARTMENT,
OFFICER PHILIP REINA, in his
individual capacity, LYNDHURST
CHIEF OF POLICE JAMES
O'CONNOR, in his individual
capacity, SERGEANT RICHARD
PIZZUTI, in his individual
capacity, LYNDHURST TOWNSHIP
AMBULANCE SQUAD, TOWNSHIP OF
LYNDHURST, ROBERT MARTIN, ANN
MARTIN, RICHARD ANDERSON,
LAUREN ANDERSON, HOUSING
AUTHORITY OF BERGEN COUNTY,
ADAPT PHARMA - Distributor of
Naloxene,

Defendants.

 

 

Civil Action No.: 2:18-CV-
12822 -MCA-CLW

Civil Action

 

BRIEF

 

Of Counsel:

Harry D. Norton, Jr., Esq.

On the Brief:

Kelly P. Corrubia, Esq.
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STATEMENT OF FACTS

On August 16, 2018, plaintiff, Lee Kenworthy, filed the
present suit in the U.S. District Court on August 16, 2018,
naming as defendants the Lyndhurst Police Department, officer
Philip Reina, Police Officer Haggerty, Lyndhurst Chief of Police
James O'Connor, Sergeant Richard Pizzuti, Lyndhurst Township
Ambulance Squad, and the Township of Lyndhurst (collectively
referred to as the “Lyndhurst Defendants”). Certification of
Harry D. Norton, dJr., Esq. (“Certification”), Exhibit “A”
(Complaint). As to the Lyndhurst Defendants, plaintiff, a New
Jersey resident, sets forth claims of negligence and wrongful
death arising from the death of his wife, Shayling Kenworthy.
Id. Plaintiff alleges that he and his wife rented an apartment
in the Township of Lyndhurst from defendants Robert Martin, Ann
Martin, Richard Anderson and Lauren Anderson, and that due to
the conditions of that apartment, the decedent, on August 17,
2016, suffered an asthma attack and subsequently was pronounced
dead at Meadowlands Medical Center. Id.

As to the individual causes of action set forth against the
defendants, there are no allegations that give rise to a federal
cause of action, and no jurisdiction in the District Court, as
set forth at length below. Further, plaintiff has already filed
a Complaint in the New Jersey Superior Court, arising from the

same incident. Certification, Exhibit “BY (Complaint) .
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Plaintiff’s Complaint was dismissed without prejudice pursuant
to N.J. Court Rule 4:23-5. Therefore, for the reasons set
forth herein, it is submitted that the plaintiff's Complaint

against the Lyndhurst defendants be dismissed with prejudice.

LEGAL ARGUMENT
I.
THE DISTRICT COURT DOES NOT HAVE
JURISDICTION AND THE COMPLAINT MUST BE
DISMISSED.

The Complaint must be dismissed for lack of jurisdiction,
pursuant to Fed. R. Civ. P. 12(b) (1). The allegations set
forth in the Complaint are identical to those plaintiff has
already filed in the New Jersey Superior Court. Certification,
Exhibit “B”. As set forth at length below, the District Court
cannot assert jurisdiction over these matters while the claims
are being addressed in the appropriate venues on the State
level. Consequently, subject matter jurisdiction is lacking and
the Complaint against the Lyndhurst Defendants must be dismissed
as a matter of law. The District Court also lacks jurisdiction
in this matter, as plaintiff's stated grounds for jurisdiction
in the Complaint that the U.S. Government is a defendant, does
not apply. certification, Exhibit “A”. A motion to dismiss

brought pursuant to Rule 12(b) (1) is treated as either a

“facial or factual challenge.” Gould Electronics, Inc. v. United

 
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States, 220 F.3d 169, 176 (3d Cir. 2000). A facial attack
Challenges the legal sufficiency of the claim, and a Court
considers only the allegations in the complaints and attachments
referenced in the complaint in the light most favorable to the
plaintiff. Id. In a factual attack, such as being made in the
present case, “‘the challenge is to the actual alleged

jurisdictional facts’” Edelgiass v. New Jersey, 2015 U.S. Dist.

 

LEXIS 5320 {D.N.J. Jan. 16, 2015), at *13 quoting Liafom, LLC.

 

v. Big Fresh Pictures, 2011 U.S. Dist. LEXIS 95251, 2011 Wh

 

3841323 Civ. No. 10-0606 (D.N.J. Aug. 24, 2011).
A. THE Unrtep STtares GOVERNMENT IS NOT A DEFENDANT.

Plaintiff states that grounds for jurisdiction in the
District Court arise as the U.S. Government is a defendant to
the suit. Certification, Exhibit “A”. The U.S. Government is not
a party to this action and, therefore, the stated grounds for
jurisdiction do not exist.

B. Tor DIstricr Court SHOULD ABSTAIN FROM EXERCISING JURISDICTION PURSUANT TO
THE COLORADO RIVER DOCTRINE.

In Colorado River Water Conservation District v. United

 

States, the United States Supreme Court held that the federal
court should abstain from exercising jurisdiction where a
duplicative matter is being litigated in state court. 424 U.S.
800, 818-819 (1976). Plaintiff has filed a suit arising out of

the same action, and pursuing the same causes of action in the
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Superior Court of New Jersey. Certification, Exhibit “B”. The
Supreme Court held in the Colorado River decision that,

{ijn assessing the appropriateness of
dismissal in the event of an exercise of
concurrent jurisdiction, a federal court may
also consider such factors as the
inconvenience of the federal forum, cf. Gulf
Oil Corp. v. Gilbert, 330 U.S. 501 (1947);
the desirability of avoiding piecemeal
litigation, cf. Brillhart ov. Excess Ins.
Co., 316 U.S. 491, 495 (1942}; and the order
in which jurisdiction as obtained by the
concurrent forums, Pacific Live Stock Co. v.
Oregon Water Bd., 241 U.S. 440, 447 (1916).
No one factor is necessarily determinative...

 

 

Id. at 818. As set forth at length below, there are no grounds
for jurisdiction against the Lyndhurst defendants per the causes
of action pleaded. However, assuming arguendo, grounds existed,
the Colorado River doctrine warrants abstention and dismissal of
the federal court complaint.
Cc. THE YOUNGER ABSTENTION DOCTRINE REQUIRES DISMISSAL OF THE COMPLAINT.

The doctrine of Younger abstention requires dismissal of
plaintiff's claims, since a ruling on these issues, and granting
interlocutory relief, would interfere with the state

proceedings. Younger v. Harris, 401 U.S. 37 (1971). Under the

 

Younger abstention doctrine, a “federal district court has
discretion to abstain from exercising jurisdiction over a
particular claim where resolution of that claim in federal court

would offend principles of comity by interfering with ongoing
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State proceeding.” Addiction Specialists, Inc. v. Twp. of

 

Hampton, 411 F.3d 399, 408 (3d Cir. 2005), citing Younger, 401

U.S. 37. The doctrine “reflects ‘a strong federal policy against

 

federal -court interference with pending state judicial

proceedings absent extraordinary circumstances.” Gwynedd

 

Properties, Inc. v Lower Gwynedd Township, 970 F.2d 1195, 1200

 

(3d Cir. 1992), quoting Middlesex County Ethics Committee v.

 

Garden State Bar Ass'n, 457 U.S. 423, 431 (1982). Under the

 

Younger doctrine, abstention is appropriate where: (1) there are
ongoing state proceedings that are judicial in nature; (2) the
state proceedings implicate important state interests; and (3)
the state proceedings afford an adequate opportunity to raise
federal claims. Id. Even if all elements are met, abstention
would not be appropriate “if the state proceedings are being
undertaken in bad faith, or if there are other extraordinary
circumstances, such as where the state proceedings are based on
a flagrantly unconstitutional statute.” Id., citing Middlesex

County Ethics Committee, 457 U.S. at 435. Furthermore, where

 

federal proceedings parallel, but do not interfere, with the
state proceedings, Younger abstention may not be appropriate.
Id. at 1201. An example would be if a plaintiff seeks

prospective relief in federal court without seeking to annul

prior state court judgments or effect of those judgments. Id.
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These exceptions to the doctrine do not exist in the present
matter.

Initially, there is no dispute that there is a Complaint
pending in the Superior Court arising out of the same incident,
and alleging the same causes of action. Therefore, the first
prong of the doctrine is met in this matter.

The second prong, whether the state proceedings implicate
important state interests, is also satisfied in this matter, as
the all causes of action alleged arise under the New Jersey
Constitution and New Jersey common law.

With respect to the third and final element, plaintiff has
vaised his constitutional claims in the state proceedings. He
has not raised any federal questions that would warrant the
exercise of jurisdiction in the District Court.

All the prerequisites for application of the Younger
abstention doctrine have been met in this matter, and there are
no exceptions which would apply to require the District Court to
exercise jurisdiction. The present litigation would interfere
with the state court. The Younger doctrine requires that the
District Court abstain from exercising jurisdiction in this
matter to avoid interference with the state judicial

proceedings.
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Ii.
THERE IS NO FEDERAL QUESTION ALLEGED IN THE
ORIGINAL COMPLAINT THAT WOULD GIVE RISE TO
JURSIDICTION,.

“The district courts shall have original jurisdiction of
all civil actions arising under the Constitution, laws, or
treaties of the United States.” 28 U.S.C. § 1331. Plaintiff has
not pleaded any causes of action arising under federal law
against the Lyndhurst defendants. All allegations arise under
New Jersey common law or the New sersey Constitution.
Consequently, there is no original jurisdiction due to a federal
question in the district court, and the Complaint must be
dismissed as a matter of law.

A. First Count.

The First Count of the Complaint does not set forth any
allegations against the Lyndhurst defendants, and only sets
forth causes of action against the Martin defendants and the
Anderson Defendants. Certification, Exhibit “A” (Complaint,
First Count). Further, the cause of action sets forth
allegations of recklessness and negligence, which are state
common law claims.

B. SEconpD CoUNT.
The Second Count of the Complaint alleges that all

defendants acted palpably unreasonable, reckless, and negligent,
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and the defendants’ actions caused pain and suffering and the
death of plaintiff’s wife. The Count sets forth a state law
claim, and does not set forth a federal cause of action.

c. THIRD COUNT.

The Third Count of the Complaint alleges ailegations
against the individually named police officers for violations of
the New Jersey State Constitution, and the New Jersey Civil
Rights Act, N.J.S.A. 10:6-2, There are no federal causes of
action set forth in the matter, and the Third Count does not
give rise to original jurisdiction over the Lyndhurst Defendants
in the District Court.

D. FourtH CouNT.

The Fourth Count of the Complaint alleges the defendant,
Housing Authority of Bergen County, was negligent. It does not
set forth a causes of action arising under federal law.

E. FirtH Countr.

The Fifth Count of the Complaint alleges negligence against
defendant Adapt’ Pharma-Producer of Naloxene, and does not set
forth a cause of action arising under federal law.

Til.

THE LYNDHURST POLICE DEPARTMENT IS AN IMPROPER DEFENDANT.
Plaintif&— has named the “Lyndhurst Police Department” as a
direct defendant, but under New Jersey law, a municipality’s

police department is not an entity separate from the
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municipality. N.d.S.A. 40A:14-118 (“The governing body of any
municipality, by ordinance, may create and establish, as an
executive and enforcement function of municipal government, a
police force, whether as a department or as a division, bureau

or other agency thereof..”). See also Trafton_v. City of

 

Woodbury, 799 F. Supp. 2d 417, 430 (D.N.d. 2011) (“For purposes
of section 1983 liability, municipalities and its police
departments are treated as a ‘single entity.’” (citation

omitted)); Padilla v. Two. of Cherry Hill, 110 Fed. App’x 272,

 

278 (3d Cir. 2004) (*[P]olice departments cannot be sued in
conjunction with municipalities, because the police department
is merely an administrative arm of the local municipality, and
is not a separate judicial entity.” (citation and internal
quotation marks omitted)). Consequently, the Lyndhurst Police
Department is an improper defendant and must be dismissed as a
matter of law.

CONCLUSTON

For the aforementioned reasons, it is submitted that the

    
 
 

Motion to Dismiss be granted, Order entered

dismissing plaintiff£’s Complai

 

HARRY D. NORTON] JR., ESQ.

Dated: November 13, 2018
